 

Case: 1:09-cr-00230 Document #.85 Filed: 12/18/14 Page 1 of 19 PagelD #:265

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS DEC 182014

EASTERN DIVISION super ES | 8.40! Ye |
UNITED STATES OF AMERICA U.S. District Court Judge ~
No. 09 CR 230-1
© Hon. Charles R. Norgle
MARWAN ATIEH
PLEA AGREEMENT
1. This Plea Agreement between the United States Attorney for the
Northern District of Illinois, ZACHARY T. FARDON, and defendant MARWAN
ATIEH, and his attorney, LINDA S. AMDUR, is made pursuant to Rule 11 of the
Federal Rules of Criminal Procedure. The parties to this Agreement have agreed
upon the following:
Charge in This Case
2. The indictment in this case charges defendant with one count of wire
fraud affecting a financial institution, in violation of Title 18, United States Code,
Section 1343.
3. Defendant has read the charge against him contained in the
indictment, and that charge has been fully explained to him by his attorney.
A. Defendant fully understands the nature and elements of the crime
with which he has been charged.
Charge to Which Defendant Is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a voluntary plea of

guilty to the indictment, which charges defendant with wire fraud affecting a
 

Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 2 of 19 PagelD #:265

financial institution, in violation of Title 18, United States Code, Section 1343. In
addition, as further provided below, defendant agrees to the entry of a forfeiture
judgment.

Factual Basis

6. Defendant will plead guilty because he is in fact guilty of the charge
contained in the indictment. In pleading guilty, defendant admits the following
facts and that those facts establish his guilt beyond a reasonable doubt, and
establish a basis for forfeiture of the property described elsewhere in this Plea
Agreement:

Beginning in or around March 2008 and continuing through in or around
May 2008, in the Northern District of Illinois, Eastern Division, and elsewhere,
defendant MARWAN ATIEH, along with co-defendant Ruwaida Dabbouseh and
others known and unknown, knowingly devised and participated in a scheme to
defraud and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises, which scheme affected a
financial institution.

Specifically, ATIEH, along with Dabbouseh, fraudulently obtained mortgage
loan proceeds from Washington Mutual Bank by knowingly preparing and
submitting, on behalf of a nominee buyer of a residence located at 11319 S.
Normandy Avenue, Worth, Illinois, a loan application that contained materially

false and fraudulent statements concerning the buyer’s qualifications for the loan.

 
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 3 of 19 PagelD #:265

On or about March 28, 2008, Dabbouseh introduced ATIEH to an individual
who, unbeknownst to Dabbouseh and ATIEH, was cooperating with the government
(‘the CW”). The CW previously told Dabbouseh, who had worked in the real estate
industry for a number of years, that he needed a mortgage broker to assist him in
securing a fraudulent mortgage loan for the purchase of the Normandy property by
a nominee buyer. At the time, ATIEH was a licensed mortgage broker at Citiwide
Financial, located in Hanover Park, Illinois. In that capacity, ATIEH prepared and
submitted to lenders applications for mortgage loans. During the meeting, ATIEH
agreed to prepare and submit, on behalf of a nominee buyer of the Normandy
property, a loan application that contained false information regarding the buyer’s
loan qualifications.

On or about April 10, 2008, ATIEH knowingly prepared a mortgage loan
application for the nominee buyer of the Normandy property that contained
materially false and fraudulent statements regarding the buyer’s employment,
income, and intention to occupy the property. ATIEH indicated on the loan
application that the buyer intended to occupy the property as his primary residence,
which ATIEH knew was false. ATIEH also fabricated the buyer’s employment and
income on the application. Specifically, ATIEH represented that the buyer was a
manager at a cellular telephone store, and earned $4,522 per month, all of which
ATIEH knew was false.

Also on or about April 10, 2008, ATIEH submitted to Washington Mutual,

which was FDIC-insured at the time, the loan application containing the materially

 

 
 

Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 4 of 19 PagelD #:265

false statements regarding the Normandy property buyer’s employment, income,
and intention to occupy the property, knowing that the false statements were
material to Washington Mutual’s decision to approve and fund the mortgage loan.
On or about April 30, 2008, ATIEH received $3,500 from the CW as payment for
processing the fraudulent mortgage loan application. Also on or about April 30,
2008, ATIEH, the CW, and Individual A agreed that ATIEH would be paid an
additional sum from the loan proceeds. To hide from Washington Mutual the
portion of the payment that exceeded ATIEH’s standard commission, they agreed to
disguise the excess on the HUD-1 as payment to a “possession escrow.” ATIEH
knew that no “possession escrow” existed, and that representations regarding
distribution of the loan proceeds were material to Washington Mutual’s decision to
approve and fund the mortgage loan.

On or about May 7, 2008, ATIEH and Dabbouseh, and others, caused
Washington Mutual to close and fund a mortgage loan of approximately $144,000 to
finance the nominee buyer’s purchase of the Normandy property. The same day,
ATIEH and Dabbouseh executed their mortgage fraud scheme by knowingly
causing to be transmitted a wire communication in interstate commerce, namely, a
funds transfer in the amount of approximately $145,403.06 from Washington
Mutual Bank in Stockton, California, to LaSalle National Bank in Chicago, Illinois,
which funds represented the proceeds of a mortgage loan for the purchase of the
Normandy property.

The same day, ATIEH received $19,416 of the fraudulently obtained

mortgage loan proceeds in the form of checks made payable to entities under

4
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 5 of 19 PagelD #:265

ATIEH’s control, including a $10,100 check that ATIEH knew was falsely itemized
on the HUD-1 as a payment to a “possession escrow.”

7. Defendant disclosed the following self-incriminating information to the
government pursuant to the terms of a proffer agreement. Pursuant to Guideline
§ 1B1.8(a), this information may not be used in determining the applicable
guideline range for defendant:

In or around January 2008, ATIEH participated in a fraudulent mortgage
loan transaction involving the purchase of a residential property located at 1829 S.
Kedzie Avenue, Chicago, Illinois. Specifically, ATIEH knowingly prepared and
submitted to a lender a loan application that contained materially false and
fraudulent representations regarding the buyer's employment, income, and
intention to occupy the property. Based on the fraudulent loan application prepared
by ATIEH, the lender approved and funded the mortgage loan. In exchange for
processing the fraudulent loan application, ATIEH received approximately $40,000
of the loan proceeds. |

8. The foregoing facts are set forth solely to assist the Court in
determining whether a factual basis exists for defendant’s plea of guilty and
criminal forfeiture, and are not intended to be a complete or comprehensive
statement of all the facts within defendant’s personal knowledge regarding the

charged crime and related conduct.
 

Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 6 of 19 PagelD #:265

Maximum Statutory Penalties
9. Defendant understands that the charge to which he is pleading guilty
carries the following statutory penalties:

a. A maximum sentence of 30 years’ imprisonment. Pursuant to
Title 18, United States Code, Section 3561, defendant may not be sentenced to a
term of probation for this offense. This offense also carries a maximum fine of
$1,000,000. Defendant further understands that the judge also may impose a term
of supervised release of not more than five years.

b. In accord with Title 18, United States Code, Section 3018,
defendant will be assessed $100 on the charge to which he has pled guilty, in
addition to any other penalty imposed.

Sentencing Guidelines Calculations
10. Defendant understands that in imposing sentence the Court will be
guided by the United States Sentencing Guidelines. Defendant understands that
the Sentencing Guidelines are advisory, not mandatory, but that the Court must
consider the Guidelines in determining a reasonable sentence.
11. For purposes of calculating the Sentencing Guidelines, the parties
agree on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be

considered in this case are those in effect at the time of sentencing. The following

statements regarding the calculation of the Sentencing Guidelines are based on the
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 7 of 19 PagelD #:265

Guidelines Manual currently in effect, namely the November 2014 Guidelines
Manual.
b. Offense Level Calculations.

1. The base offense level for the offense of conviction is 7,
pursuant to Guideline § 2B1.1(a)(1).

ii. Pursuant to Guideline § 2B1.1(b)(1)(C), because the loss
was $19,416, the base offense level is increased by 4 levels.

iii. Pursuant to Guideline § 2B1.1(b)(10)(C), the base offense
level is increased by 2 levels because the offense involved sophisticated means.

iv. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for his criminal conduct. If the
government does not receive additional evidence in conflict with this provision, and
if defendant continues to accept responsibility for his actions within the meaning of
Guideline § 3E1.1(a), including by furnishing the United States Attorney’s Office
and the Probation Office with all requested financial information relevant to his
ability to satisfy any fine that may be imposed in this case, a two-level reduction in
the offense level is appropriate.

c. Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government, defendant’s criminal history points equal zero and

defendant’s criminal history category is I:
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 8 of 19 PagelD #:265

1. On or about November 6, 1991, defendant was sentenced
to one year of court supervision as a result of his conviction for criminal trespass to
land in the Circuit Court of Cook County, Illinois. Pursuant to Guideline §
4A1.2(e)(8), defendant receives zero criminal history points for this sentence.

li. On or about June 8, 1992, defendant was sentenced to two
years’ probation as a result of his conviction for unlawful use of a weapon in the
Circuit Court of Cook County, Illinois. Pursuant to Guideline § 4A1.2(e)(3),
defendant receives zero criminal history points for this sentence.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the anticipated offense
level is 11, which, when combined with the anticipated criminal history category of
I, results in an anticipated advisory sentencing guidelines range of 8 to 14 months’
imprisonment, in addition to any supervised release and fine the Court may impose.

e. Defendant and his attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature, and are non-
binding predictions upon which neither party is entitled to rely. Defendant
understands that further review of the facts or applicable legal principles may lead
the government to conclude that different or additional guidelines provisions apply
in this case. Defendant understands that the Probation Office will conduct its own
investigation and that the Court ultimately determines the facts and law relevant
to sentencing, and that the Court’s determinations govern the final guideline
calculation. Accordingly, the validity of this Agreement is not contingent upon the

probation officer’s or the Court’s concurrence with the above calculations, and

8
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 9 of 19 PagelD #:265

defendant shall not have a right to withdraw his plea on the basis of the Court’s
rejection of these calculations.

f. Both parties expressly acknowledge that this Agreement is not
governed by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting
any of the sentencing guidelines may be corrected by either party prior to
sentencing. The parties may correct these errors either by stipulation or by a
statement to the Probation Office or the Court, setting forth the disagreement
regarding the applicable provisions of the guidelines. The validity of this Agreement
will not be affected by such corrections, and defendant shall not have a right to
withdraw his plea, nor the government the right to vacate this Agreement, on the
basis of such corrections.

Cooperation

12. Defendant agrees he will fully and truthfully cooperate in any matter
in which he is called upon to cooperate by a representative of the United States
Attorney’s Office for the Northern District of Illinois. This cooperation shall include
providing complete and truthful information in any investigation and pre-trial
preparation and complete and truthful testimony in any criminal, civil, or
administrative proceeding.

Agreements Relating to Sentencing

13. At the time of sentencing, the government shall make known to the

sentencing judge the extent of defendant's cooperation. If the government

determines that defendant has continued to provide full and truthful cooperation as
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 10 of 19 PagelD #:265

required by this Agreement, then the government shall move the Court, pursuant to
Guideline § 5K1.1, to depart downward from the low end of the applicable Guideline
range. Defendant understands that the decision to depart from the applicable
guideline range rests solely with the Court. The government will make no
recommendation regarding the sentence to be imposed.

14. If the government does not move the Court, pursuant to Guideline
§ 5K1.1, to depart from the applicable guideline range, as set forth above, the
preceding paragraph of this Agreement will be inoperative, both parties shall be
free to recommend any sentence, and the Court shall impose a sentence taking into
consideration the factors set forth in 18 U.S.C. § 3553(a) as well as the Sentencing
Guidelines without any downward departure for cooperation pursuant to § 5K1.1.
Defendant may not withdraw his plea of guilty because the government has failed
to make a motion pursuant to Guideline § 5K1.1.

15. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the
maximum penalties as set forth above. Defendant further acknowledges that if the
Court does not accept the sentencing recommendation of the parties, defendant will
have no right to withdraw his guilty plea.

16. The parties further agree, pursuant to Title 18, United States Code,
Section 3583(d), that the sentence to be imposed by the Court shall include, as a

condition of any term of supervised release imposed in this case, a requirement that

10

 
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 11 of 19 PagelD #:265

defendant repay the United States $3,500 as compensation for government funds
that defendant received during the investigation of the case.

17. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S.
District Court.

18. Defendant agrees that the United States may enforce collection of any
fine or restitution imposed in this case pursuant to Title 18, United States Code,
Sections 3572, 3613, and 3664(m), notwithstanding any payment schedule set by
the Court.

Forfeiture

19. Defendant understands that by pleading guilty, he will subject to
forfeiture to the United States all right, title, and interest that he has in any
property constituting or derived from proceeds obtained, directly or indirectly, as a
result of the offense.

20. Defendant agrees to the entry of a personal money judgment in the
amount of $19,416, which represents the total amount of proceeds traceable to the
offense. Defendant consents to the immediate entry of a preliminary order of
forfeiture setting forth the amount of the personal money judgment he will be
ordered to pay.

21. Defendant admits that because the directly forfeitable property is no
longer available for forfeiture as described in Title 21, United States Code, Section

853(p)(1), the United States is entitled to seek forfeiture of any other property of

11
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 12 of 19 PagelD #:265

defendant, up to the value of the personal money judgment, as substitute assets
pursuant to Title 21, United States Code, Section 853(p)(2).

22. Defendant understands that forfeiture shall not be treated as
satisfaction of any fine, cost of imprisonment, or any other penalty the Court may
impose upon defendant in addition to the forfeiture judgment.

23. Defendant agrees to waive all constitutional, statutory, and equitable
challenges in any manner, including but not limited to direct appeal or a motion
brought under Title 28, United States Code, Section 2255, to any forfeiture carried
out in accordance with this agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment.

Acknowledgments and Waivers Regarding Plea of Guilty

Nature of Agreement

24. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding
defendant’s criminal liability in case 09 CR 230-1.

25. This Agreement concerns criminal liability only. Except as expressly
set forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the United States

Attorney's Office for the Northern District of Illinois and cannot bind any other

12
 

Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 13 of 19 PagelD #:265

federal, state, or local prosecuting, administrative, or regulatory authorities, except
as expressly set forth in this Agreement.
Waiver of Rights
26. Defendant understands that by pleading guilty he surrenders certain
rights, including the following:

a. Trial rights. Defendant has the right to persist in a plea of not
guilty to the charge against him, and if he does, he would have the right to a public
and speedy trial.

1. The trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge
sitting without a jury, defendant, the government, and the judge all must agree that
the trial be conducted by the judge without a jury.

il. If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

ill. If the trial is a jury trial, the jury would be instructed
that defendant is presumed innocent, that the government has the burden of
proving defendant guilty beyond a reasonable doubt, and that the jury could not

convict him unless, after hearing all the evidence, it was persuaded of his guilt

13

 
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 14 of 19 PagelD #:265

_ beyond a reasonable doubt. The jury would have to agree unanimously before it

could return a verdict of guilty or not guilty.

iv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, whether or not
the judge was persuaded that the government had established defendant’s guilt
beyond a reasonable doubt.

V. At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.
Defendant would be able to confront those government witnesses and his attorney
would be able to cross-examine them.

vi. At a trial, defendant could present witnesses and other
evidence in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
Court. A defendant is not required to present any evidence.

vii. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be
drawn from his refusal to testify. If defendant desired to do so, he could testify in
his own behalf.

b. Waiver of appellate and collateral rights. Defendant further
understands he is waiving all appellate issues that might have been available if he
had exercised his right to trial. Defendant is aware that Title 28, United States

Code, Section 1291, and Title 18, United States Code, Section 3742, afford a

14

 

 
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 15 of 19 PagelD #:265

defendant the right to appeal his conviction and the sentence imposed.
Acknowledging this, if the government makes a motion at sentencing for a
downward departure pursuant to Guideline § 5K1.1, defendant knowingly waives
the right to appeal his conviction, any pre-trial rulings by the Court, and any part of
the sentence (or the manner in which that sentence was determined), including any
term of imprisonment and fine within the maximums provided by law, and
including any order of forfeiture, in exchange for the concessions made by the
United States in this Agreement. In addition, if the government makes a motion at
sentencing for a downward departure pursuant to Guideline § 5K1.1, defendant also
waives his right to challenge his conviction and sentence, and the manner in which
the sentence was determined, in any collateral attack or future challenge, including
but not limited to a motion brought under Title 28, United States Code, Section
2255. The waiver in this paragraph does not apply to a claim of involuntariness or
ineffective assistance of counsel, nor does it prohibit defendant from seeking a
reduction of sentence based directly on a change in the law that is applicable to
defendant and that, prior to the filing of defendant’s request for relief, has been
expressly made retroactive by an Act of Congress, the Supreme Court, or the United
States Sentencing Commission.

27. Defendant understands that by pleading guilty he is waiving all the
rights set forth in the prior paragraphs. Defendant’s attorney has explained those

rights to him, and the consequences of his waiver of those rights.

15
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 16 of 19 PagelD #:265

Presentence Investigation Report/Post-Sentence Supervision
28. Defendant understands that the United States Attorney’s Office in its

submission to the Probation Office as part of the Pre-Sentence Report and at

sentencing shall fully apprise the District Court and the Probation Office of the

nature, scope, and extent of defendant’s conduct regarding the charge against him,
and related matters. The government will make known all matters in aggravation
and mitigation relevant to sentencing, including the nature and extent of
defendant’s cooperation.

29. Defendant agrees to truthfully and completely execute a Financial

Statement (with supporting documentation) prior to sentencing, to be provided to

 

and shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of his financial circumstances, including his recent
income tax returns as specified by the probation officer. Defendant understands
that providing false or incomplete information, or refusing to provide this
information, may be used as a basis for denial of a reduction for acceptance of
responsibility pursuant to Guideline § 3E1.1 and enhancement of his sentence for
obstruction of justice under Guideline § 3C1.1, and may be prosecuted as a violation
of Title 18, United States Code, Section 1001 or as a contempt of the Court.

30. For the purpose of monitoring defendant’s compliance with his
obligations to pay a fine during any term of supervised release to which defendant
is sentenced, defendant further consents to the disclosure by the IRS to the

Probation Office and the United States Attorney’s Office of defendant's individual

16
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 17 of 19 PagelD #:265

income tax returns (together with extensions, correspondence, and other tax
information) filed subsequent to defendant’s sentencing, to and including the final
year of any period of supervised release to which defendant is sentenced. Defendant
also agrees that a certified copy of this Agreement shall be sufficient evidence of
defendant’s request to the IRS to disclose the returns and return information, as
provided for in Title 26, United States Code, Section 6103(b).

Other Terms

31. Defendant agrees to cooperate with the United States Attorney’s Office
in collecting any unpaid fine for which defendant is liable, including providing
financial statements and supporting records as requested by the United States
Attorney’s Office.

32. Defendant understands that pursuant to Title 12, United States Code,
Sections 1785(d) and 1829, his conviction in this case will prohibit him from directly
or indirectly participating in the affairs of any financial institution insured by the
National Credit Union Share Insurance Fund or the Federal Deposit Insurance
Corporation, except with the prior written consent of the National Credit Union
Administration Board or the FDIC and, during the ten years following his
conviction, the additional approval of this Court. Defendant further understands
that if he knowingly violates this prohibition, he may be punished by imprisonment
for up to five years, and a fine of up to $1,000,000 for each day the prohibition is

violated.

17
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 18 of 19 PagelD #:265

33. Defendant understands that, if convicted, a defendant who is not a
United States citizen may be removed from the United States, denied citizenship,
and denied admission to the United States in the future.

Conclusion

34. Defendant understands that this Agreement will be filed with the
Court, will become a matter of public record, and may be disclosed to any person.

35. Defendant understands that his compliance with each part of this
Agreement extends throughout the period of his sentence, and failure to abide by
any term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and
thereafter prosecute defendant not subject to any of the limits set forth in this
Agreement, or may move to resentence defendant or require defendant’s specific
performance of this Agreement. Defendant understands and agrees that in the
event that the Court permits defendant to withdraw from this Agreement, or
defendant breaches any of its terms and the government elects to void the
Agreement and prosecute defendant, any prosecutions that are not time-barred by
the applicable statute of limitations on the date of the signing of this Agreement
may be commenced against defendant in accordance with this paragraph,
notwithstanding the expiration of the statute of limitations between the signing of

this Agreement and the commencement of such prosecutions.

18
Case: 1:09-cr-00230 Document #: 85 Filed: 12/18/14 Page 19 of 19 PagelD #:265

36. Should the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

37. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set
forth in this Agreement, to cause defendant to plead guilty.

38. Defendant acknowledges that he has read this Agreement and
carefully reviewed each provision with his attorney. Defendant further
acknowledges that he understands and voluntarily accepts each and every term and

condition of this Agreement.

AGREED THIS DATE: )wennae L 6, 2f df

   
 

 

 

 

 

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ACHARY Tf FARDON WAN ate
United States Attorney efendant
Zhe tong Sd Gerber
TYLER C. MURRAY/ LINDA S. AMDUR
Assistant U.S. Attorney Attorney for Defendant

19
